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IN THE SUPERIOR CnURT OF DOUGHERTY COUNTY
STATE OF GE()RGIA

CASSANDRA MARSHALL,
INDIVIDUALLY AND APONDREA
MARSHALL, INDIVIDUALLY AND AS
NEXT FRIEND OF CASSANDRA
MARSHALL,

Plaintifi`s,
vs.

CIVIL ACTION NO.

M’i 3
JYoTiR MEHTA, M.D., LUNG

DIAGNOSTICS LLC, DEBORAH z.
MCCARTHY , MARK N.. BIJRNS,

M.D., SOUTHWEST GEoRGIA PATHO-
OLOGY, sOUTHERN HEALTHCARE
MANAGEMENT, INC., JOHN THOMAS
DUELGE, M.D., PHOEBE CANCER
CENTER, PALMYRA PARK HOSPITAL,

VW\/VVVVVVWVVVVVVVV\/VVVWV

INC. D/B/A PALMYRA MEDICAL §§ §§ mr_:i~';
CENTER, PHOEBE PUTNEY MEMoRIAL §§';; ga w
HOSPITAL, INC. and AMERICAN RED §li_fn§ z :::ha
CROSS, SOUTHEAST DIVISION, QZZZ;\ 47 'E
Defendants. §§'é z §§ g
355 " U
SUMMONS w.< :

I`O : AmelicanRed Cross Blood Services
c/o J. Randy Edwards, CEO
9851Commeree Way, Douglasville, Ga. 30135 (Douglas)

You are hereby summoned and required to file with the Clerk ofsaid court and serve upon die Plaintih`s attorney whose
name and addres is:

 

Scott S Liberman, Esqu`u'e I Mills Fleming, Esqv

l Kiupnick, Campbell, Malone, Buser, Hunter, Maclean, Exley & Dunn, P.C
Slama, Hancock, Liberman & McKee, P A 200 E. Saint .Iulian Street
700 S E. 3“‘ Avenue, Suite 100 savannah, GA 31412

Ft Lauder'dale, PL 33316

 

 

 

 

an answer to the complaint which is herewith sen/ed upon you, within 30 days after service of'summons upon you, exclusive of'the

day ofservice Ifyou fail to do so 'udwent by default will be taken against you for the reliefdemanded in the complaint
ms o?ff; dayof' yi#;{; . ,2009

EVONNE MULI_.
Clerk of Superior Cour’c
DOUGHERTY COUNTY

By C‘-£a.` LJJ W
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IN THE SUPERIOR COURT OF DOUGHERTY COUNTY

STATE OF GEORGIA

CASSANDRA MARSHALL,
INDIVIDUALLY AND
APONDREA MARSHALL,
INDIVIDUALLY AND AS

NEXT FRIEND OF CASSANDRA
MARSHALL

Plaintiffs,

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vs.. ) CIVIL ACTION NO.

) 0 9 C VA .$'0 5`. 5

JYOTIR MEHTA, M"D., LUNG )

DIAGNOSTICS LLC, DEBORAH Z. ) [JURY DEMAND]

MCCARTHY , MARK N. BURNS, M..D.., )

SOUTHWEST GEORGIA PATHOLOGY, )
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sOUTHERN HEALTHCARE mg m 53
MANAGEMENT, INC., JoHN THOMAS ;§; %%
DUELGE, M.D., PHOEBE CANCE~R-- §§%_§; §§
CENTER, PALMYRA PARK HOSPITAL, 334 v
lNC. D/B/A PALMYRA MEDICAL O'C§ -‘” -o
cENTER, PHoEBE PUTNEY MEMORIAL §g§ 3
HOSPITAL, INC.. and AMERICAN RED §§F '~_7_'

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CROSS, SOUTHEAST DIVISION

DEFENDAN'I`S.

CON[PLAINT

NOW COMB Plaintiffs, Cassandr'a Marshall, lndividually and Apondl'ea
l\/lalshall, lndividually and as NeXt Friend of Cassandra Marshall, and file this complaint
for damages against the Defendants, Iyotir Mehta, M.D., Lung Diagnosties LLC,
Deborah Z. McCarthy, Marl< N Bulns, M.D., Southwest Georgia Pathology, Southem
Healthcare Management, Inc.,l .Iohn Ihomas Duelge, MD., Phoebe Cancer Center,

Pa_lmyra Park Hospital, lnc. d/b/a Palmyra Medical Center, Phoebe Putney Memon`al

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Hospital, lnc , and Ameri_can Red Cross, Southeast Division, by showing this Honorable

Court as follows:
I.`
PARTIES PLA]NTIFFS
1. 'I'he Plaintiffs, Cassandra Marshall and Apondrea Malshall, are lawfully
married and are residents of`Colquitt County, Georgia,.
ll
PARTIES DEFENDANTS

2 lhe Defendant, lyotir Mehta, M.D., is a resident of Albany, Georgia, in Lee
County, and at all times mentioned herein held himself out to the general public and, in
particular, to the Plaintiff, Cassandra Marshall, as being a medical doctor competent to
properly diagnose, neat andeare for patients

3.. At all times mentioned in this Complaint, Iyotir Mehta, M..D.., was an
employee, agent or apparent agent of Lung Diagnostics LLC and/or Phoebe Putney
Memoiial Hospital, Inc.. / Lung Diagnostics, LLC maintains its principal office in
Albany, Georgia and can be served through its registered agent, William D Moorhead,
lll, PC at 314 Residence Avenue, Albany, Dougherty County, Georgia 31701

4. Both Dr. Mehta and his practice have been properly served With this
Cornplaint..

5 I'he Defendant, Deborah Z. McCarthy, is a resident oi`Albany, Georgia, in
Dougherty County, and at all times mentioned herein held herself out to the general

public as the Director of the lab at Phoebe Putney Memorial Hospital, lnc

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6. At all times mentioned in this Complaint, Deborah Z McCarthy, was an
employee, agent or apparent agent of Phoebe Putney Memorial Hospital, lnc,, which
maintains its principal office in Albany, Dougherty County, Georgia Phoebe Putney
Memorial Hospital, lnc can be served through its registered agent, Ihomas S. Chambless
at 417 W. Third Avenue, Albany, Dougherty County, Georgia 31701..

7. Both Ms McCarthy and Phoebe Putney Memorial Hospital, Inc. have been
properly served with this Complaint.

8 The Defendant, Marl< N. Bums, M D.., is a resident of Albany, Georgia, in
Doughert_y County, and at all times mentioned herein held himself out to the general
public as being a medical doctor with a specialty in pathology

9. At all times mentioned in this Complaint, Mark N. Burns, MD., Was an
employee, agent or apparent agent of'Southwest Georgia Pathology, Southern Healthcare
Management, Inc. and/or Phoebe Putney Memorial Hospital, lnc., which maintains its
principal office in Albany, Dougherty County, Georgia

10 Southwest Georgia Pathology’s principal place of business is located in
Albany, Georgia and it can be served through Dr. Mar'k Bums, as its registered agent at
1010 N.. Madison Su eet, Albany, Dougherty County, Georgia 31701 Southern
Healthcare Management, lnc , has its principal place of business in Albany, Georgia and
can be served through its registered agent, Russell P. Love, at 245 Peachtree Center
Avenue, Atlanta, Fulton County, Geor'gia 31706

11 Dr Burns and his practices have been properly served With this Complaint.

12. lhe Defendant, lohn Thomas Duelge, M D., is a resident of Venice,

Plorida, in Sarasota County, and at all times mentioned herein held himself out to the
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general public, as being a medical doctor with a specialty in hematology/oncology. Dr
Duelge can be served at his residence in Florida

13. At all times mentioned in this Complaint, lohn Thornas Duelge, M.D., was
an employee, agent or apparent agent of Phoebe Cancer Center, Palmyra Park Hospital,
lnc. d/b/a Palmyra Medical Center, and/or Phoebe Putney Memorial Hospital, Inc., all of
which are located in Albany, Dougherty County, Georgia

14 Dr Duelge and his former employer have been properly served with this
Complaint.

15. Phoebe Putney Memorial Hospital, lnc. maintains The Defendant, Phoebe
Putney Mernorial Hospital, Inc. is a corporation organized and existing under the laws of
the State of Georgia. lt is registered to do business in the State ofGeorgia and is engaged
in the business of owning and/or operating a medical hospital in the City of Albany,
Dougherty County7 Georgia. lts principal place of business is in Albany, Dougherty
County, Georgia

16. Phoebe Putney Memorial Hospital, Inc. at all times herein represented that
its hospital has the proper equipment, supplies and staff to competently care for patients
such as Cassandra Marshall.

17. The Defendant, American Red Cross, Southeast Division, is a corporation
organized and existing under the laws Of the State of Geor'gia. lt is registered to do
business in the State of Georgia and is engaged in the business of inter alia, testing,
examining and cross-matching blood samples sent to it nom healthcare facilities
throughout the r'egion, and providing blood products to such medical facilities for use by

patients in need of such products The American Red Cross, Southeast Division,
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maintains its principal place of business in Douglasville, Douglas County, Georgia. lt
may be served through its registered agent, l Randy Edwards, CEO in Douglasville,
Georgia

18 Arnerican Red Cross, Southeast Division, has been properly served with
this Complaint._

19.. Defendants are joint tortfeasors, such that venue which is proper to one
Defendant, is proper to all Defendants

III.
JURISD]CTION AND VENUE

20.. lhis Court has jurisdiction of the parties and over the subject matter of this
case, and the venue of this action properly lies Within Dougherty County, State of
.Georgia

IV..

EVENTS AND FACTS SUPPORTING CAUSE OF AC'I`ION

21 Plaintiff, Cassandra Marshall, was admitted to Phoebe Putney Memorial
Hospital, lnc. (hereinafter “PHOEBE”) on or about October 19, 2007 for a “sickle cell
crisis/veno-occlusive crisis” with “acute chest syndrome” (versus pneumonia), and
received an exchange blood transfusion on or about October 22, 2007 when her oxygen
saturation was 99-100%.,

22 On or about March '7, 2008, the Plaintiff, Cassandra Marshall, presented to
the Colquitt Regional Medical Center with a severe sickle cell crisis Which was

unresponsive to narcotics and caused the patient to mean and writhe in paint

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23 On or about March 8, 2008, physicians at Colquitt Regional Medical
Center, decided that Plaintiff, Cassandra Marshall should be transferred to PHOEBE,
which has hematology support

24. On or about March 8, 2008, Plaintiff', Cassandra Marshall, was transported
by EMS to PHOEBE due to “clinical deterioration.”

25. During EMS transport, Plaintiif, Cassandra Mar'shall, was placed on
oxygen, 2L/rnin by nasal carmula, and was reported to have clear lungs and an oxygen
saturation of 96-97%..

26 On or about March 8, 2008, at approximately 05:10 a.,m., the Plaintiff,
Cassandra Marshall, presented to PHOEBE and was admitted by Thomas Ungarino,
M.D.., but was quickly transferred to the service of Iyotir Mehta, M..D,

27 The Plaintift`, Cassandra Marshall, complained of back pain, leg pain and
pain all over, complicated by nausea and vomiting lyotir Mehta, M D., at approximately
09:18 a,m\, diagnosed Plaintiff, Cassandra Marshall, as suffering from a sickle cell crisis
with vaso-occlusive crisis and a history of acute chest syndrome

28. On or about March 8, 2008, a CI scan of the brain was performed which
revealed no intracranial hemorrhage and no acute CVA

29 On or about March 8, 2008, a chest X-Ray was performed which showed
bilateral in.tiltrates and atelectasis.

30. On or about March 8, 2008, Iyotir Mehta, M.D.. ordered a
hernatology/oncology consultation at approximately 2:00 p..m.

31 . On or about March 9, 2008, the Plaintiffwas seen by the hematologist, .Iohn

Duelge, M..D., (hereinafter “DR, DUELGE”) on or about 7:00 p.m , who ordered the
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transfer of Plaintiff' “to unit” and ordered PHOEBE to type and cross-match 4 units of
phenotypically matched packed red blood cells, but did not order a transfusion

32 On or about March 9, 2008, at approximately '7:50 p..rn , the PlaintiH`,
Cassandra Mar'shall, was on 50% oxygen by face mask, and her oxygen saturation Was
recorded as 86% with respiratory rate from 25 to 30 and by 9:00 p rn., the Plaintiff`,
Cassandra Marshall, was lethar'gic._

33.. lests performed on Plaintiff§ Cassandra Marshall, through March 9, 2008,
indicated a severe anemia and abnormal chest x-r'ay, as well as reduced oxygen
saturation

34. lyotir Mehta, l\/l D did not communicate with the hematologist on March 9,
2008, about the necessity ofperforming an exchange transfusion on that day

35 On or about March lO, 2008, DR. DUELGE examined the Plaintift‘,
Cassandra Marshall, and ordered a red cell exchange “today..” lhis order was not a
“stat” 01 der:

36. Within the first hour of the day orr March lO, 2008, the lab at PHOEBE
cross-matched Plaintiff, Cassandra Marshall’s blood and concluded they needed

assistance from the regional blood center

37, On or about March lO, 2008, at approximately 4:43 a.m.., the lab at
PHOEBE contacted the blood bank operated by the American Red Cross, Southeast
Division, in Douglasville, Georgia, regarding Plaintift‘, Cassandra Marshall, and

requested a cross-match be done “ASAP” rather than “S lAl..”

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38.. The definition of “ASAP”, according to the American Red Cross, Southeast
Division, Was “non-ernergent:' situations where a shortened turn around time would be
beneficial (example.' low hemoglobz`n).”

39. lhe definition of “STAl” is expressly defined by the American Red Cross,
Southeast Division, as “the status ofthe patient is extremely unstable.. Thz`s is an urgent
request (example‘ actively bleeding patient) .”

404 On or about March lO, 2008, the lab for Arnerican Red Cross, Southeast
Division, cross-matched the blood sent to it for compatibility with the Plaintiff,
Cassandra Marshall, and supplied PHOEBE with the requested blood products

4l.. On or about March ll, 2008, at 7:30 a m., nurse’s notes indicate that the
blood was coming nom Atlanta, so the exchange transfusion had not occurred yet,

42 On or about March ll, 2008, lyotir Mehta, M.D`. noted that he was waiting
for blood to come from Atlanta for the exchange transfusion and the plan was to do the
transfusion “today_”

43 On or about March ll, 2008, at or about 8:45 a rn., DR. DUELGE, Who had
not ordered the blood exchange on a “stat basis” expressed the importance of the blood
exchange for the Plaintiff; Cassandr'a Marshall, but Was advised that an exchange would
not be possible that day.

44 On or about March ll, 2008, at approximately lO:OO a..m,, PHOEBE’s
records indicate that the blood bank called and indicated “blood should be available
around noon ”

45 Orr or about March ll, 2008, also at approximately lO:OO a.m., DR

DUELGE wrote an order to expedite the blood for red cell exchange (6 units)
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46 On or about March ll, 2008, by about 12:00 p.m , Plaintiff, Cassandra
Marshall’s oxygen saturation was down to 88% on 50% vent.

47.4 PHOEBE received the cross-matched blood from the American Red Cross,
Southeast Division, by March ll, 2008 at approximately 2140 p.rn. and then began its
testing of`the blood

48. On or about March ll, 2008, at approximately 4:30 pm.., PH()EBE’s
records indicate that the Stem Cell team indicated the blood would not be transfused this
day._

49. On or about March ll, 2008, between 7:00 p.m.. and 7:30 p.m., the
Plaintiff, Cassandra Marshall, became sluggish, obtunded and no longer responded to
commands

50 On or about March ll, 2008, at approximately ‘l'0:28 p.m., a Brain MRI
report reflected the history that Plaintiff, Cassandra Marshall, was in severe respiratory
distress The report indicated a diagnosis ofa stroke (“acute lacunar infarcts”).

51 During the first few minutes of March 12, 2008, the Plaintiff, Cassandra
Marshall, was intubated.

52.. On or about March 12, 2008, at approximately 7:50 a~m., nur‘se’s notes
indicate that .lyotir Mehta, M.D.. was told ofblood exchange transfusion plans “this a m.”.

53. On or about March 12, 2008, at or about 8:34 a m., PHOEBE’s laboratory
was still performing testing on the cross-matched blood provided by the Atlanta Blood

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54. On or about March 12, 2008, at approximately 2:00 p..m., the blood
exchange transfusion began At this time, Plaintiff`, Cassandra Marshall, followed no
commands, moved no extremities, and showed signs of`posturing to the left

55 The intubated Plaintiff`, Cassandra Mar'shall, was eventually cxtubated and
transferred to a neurological rehabilitation facility for continued care and treatment

56. At all times material hereto, the Plaintiff, Cassandra Marshall, has suffered
severe and permanent brain damage

57. Defendant, .Iyotir Mehta, M.D., failed to adhere to the standard of care
generally employed by the medical profession under similar or like circumstances in his
medical treatment of Plaintiff`, Cassandra Marshall by:

A Failing to recognize the seriousness of` her clinical presentation;
and/or

B. Failing to recognize the need to expedite the receipt ofblood
products; and/or

Ci Failing to recognize the need to expedite the exchange transfusion
prior to the occurrence of` a stroke; and/or 1

D. Pailing to have the exchange transfusion done in a timely manner

58. These above-described breaches of the standard of care by lyotir Mehta,
M.D. and Lung Diagnostics LLC and/or Phoebe Putney Memorial Hospital, lnc., his
employer(s), substantially caused or contributed to Plaintiff, Cassandra Marshall,

suffering a stroke and resulting brain damage

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59. As a result of the actions and/or failures to act of`Defendant, lyotir Mehta,
M D__, and Lung Diagnostics LLC, Plaintiff`, Cassandra Marshall, suffers from severe and
permanent brain damage

60 The Affrdavit of Edwar‘d L Snyder, M.D , attached hereto as Exhibit “A”,
sets forth at least one negligent act against Defendant, lyotjr Mehta, M .D.

61 Defendant, IOHN THOMAS DUELGE, M.D.. failed to adhere to the
standard of care generally employed by the medical profession under similar or like
circumstances in his medical treatment of'Plaintiff, Cassandra Marshall, by, among other
things:

A.. F ailing to recognize the seriousness of her clinical presentation;
and/or

B. Failing to order blood products “stat”; and/or

C. Failure to order the exchange transfusion as an emergent or “stat”;
and/or
D. Failing to have the exchange transfusion done in a timely manner

62 These above-described breaches of the standard of care by .lohn Thomas
Duelge, M D. and ofPhoebe Cancer Center, Palrnyra Park Hospital, lnc.. d/b/a Palrnyra
Medical Center, and/or Phoebe Putney Memorial Hospital, lnc., his employer,
substantially caused or contributed to Plaintif`f`, Cassandra Marshall suffering a stroke and
resulting brain damage

63. As a result of the actions and/or failures to act of`Defendant, lohn Thomas

Duelge, M..D , Phoebe Cancerv Center and Palrnyra Par'k Hospital, lnc. d/b/a Palrnyra

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Medical Center, Plaintiff, Cassandra Marshall, suffers from severe and permanent brain
damage

64. The Affidavit of Edwar‘d L. Snyder, M.D., attached hereto as Exhibit “B”,
sets forth at least one negligent act against Defendant, lohn Thomas Duelge, M .D.

65. The Defendant lab director', Deborah Z. McCarthy, failed to adhere to the
standard of care generally employed by the medical profession under similar or like
circumstances in her medical treatment of Plaintiff, Cassandra Marshall, by, among other
things:

A. Failing to promptly cross-match Plaintiff, Cassandra Marshall’s
blood; and/or

B Failing to obtain the necessary blood products on an emer'gent/stat
basis; and/or

C F ailing to expedite the testing and use ofblood products received
from the American Red Cross

66. `lhese above-described breaches of the standard of care by Deborah Z.
McCarthy and Phoebe Putney Mernorial Hospital, lnc , her employer, substantially
caused or contributed to Plaintiff, Cassandra Marshall, suffering a stroke and resulting
brain damage

67 As a result of the actions and/or failures to act of Defendant, Deborah Z..
McCarthy, Plaintiff, Cassandra Marshall, suffers from severe and permanent brain
damage.

68. The Affidavit of Edwar'd L. Snyder', M D., attached hereto as Exhibit “C”,

sets forth at least one negligent act against Defendant, Deborah Z. McCarthy
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69 Ihe Defendant, Mark N. Burns, M.D., failed to adhere to the standard of

care generally employed by the medical profession under similar or like circumstances in
his medical treatment of Plar'ntiif; Cassandra Marshall, by, among other things:
A Failing to promptly cr'oss~match Plaintiff, Cassandra Mar'shall’s
blood; and/or
B Failing to obtain the needed blood products on an emer'gent/stat
basis; and/or
C Pailing to expedite the testing/processing of the blood When
received from the Arnerican Red Cross.
70. These above-described breaches of the standard ofcare by Mark N Burns,
M D , Southwest Georgia Pathology, Southern Healthcare Management, Inc.. and/or
Phoebe Putney Memorial Hospital, Inc , his employer, substantially caused or contributed
to PIaintiff, Cassandra Mar shall, suffering a stroke and resulting brain damage
7l.. As a result of the actions and/or failures to act of Defendant, Mark Nw
Burns, M.D , Southwest Geor'gia Pathology, Southern Healthcare Management, ]nc
and/or Phoebe Putney Memorial Hospital, lnc , Plaintiff, Cassandra Marshall, suffers
from severe and permanent brain damage
72 'l`he Affidavit of Edward L Snyder, M D , attached hereto as Exhibit “D”,
sets forth at least one negligent act against Defendant, Mark N. Burns, M,.D.
73 The agents, apparent agents, representatives and/or employees, of Phoebe
Putney Memorial Hospital, lnc., Who cared for Plaintiff, Cassandra Marshall, breached

the appropriate standard of care applicable to health care providers under similar or like

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circumstances in their medical care and treatment of Plaintiff`, Cassandra Marshall, by,

among other things:

A. Pailing to recognize the seriousness other clinical presentation;
and/or

B.. Failing to expedite the cross-matching ofblood needed; and/or

C Pailing to expedite the acquisition of blood products and

performance of a transfusion; and/or
D, Failing to timely test and process the blood products to be used by
the patient; and/or
E. Failing to have the exchange transfusion done in a timely manner
74. The above described breaches of the standard of care by the Defendants,
lyotir Mehta, MD., Lung Diagnostics LLC, Deborah Z. McCarthy, Mark N Burns,
M.D., Southwest Geor'gia Pathology, Southern Healthcare Managernent, lnc., lohn
Thomas Duelge, M D , Phoebe Cancer Center, Palrnyra Park Hospital, lnc d/b/a Palrnyra
Medical Center and Phoebe Putney Memorial Hospital, lnc, substantially caused or
contributed to Plaintiff, Cassandra Marshall, suffering a stroke and resulting brain
damage
75. As a result of the actions and/or failures to act of'Defendants, Iyotir Mehta,
M.D , Lung Diagnostics LLC, Deborah Z.. McCarthy, Mark N Burns M D , Southwest
Georgia Pathology, Southern Healthcare Managernent, lnc., John Thomas Duelge, M D ,
Phoebe Cancer Center, Palrnyra Park Hospital, lnc d/b/a Palrnyra Medical Center and
Phoebe Putney Memorial Hospital, lnc., Plaintifl`, Cassandra Marshall, suffers from

severe and permanent brain damage
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`76 The Affrdavit of Edward L Snyder, M D, attached hereto as Exhibit “E”,
sets forth at least one negligent act against Defendant, Phoebe Putney Memorial Hospital,
lnc., for the actions of these physiciansl

'77 Ihe Defendant, Arnerican Red Cross, Southeast Division, failed to adhere
to the standard of care generally employed by the medical profession under similar or like
circumstances in its medical treatment ofPlaintiff, Cassandra Marshall, by, among other
things;

A. Failing to timely cross-match and process blood needed for
transfusion; and/or

B. Failing to timely deliver the blood products to Phoebe Putney
Memorial Hospital, Inc.

78 These above-described breaches of the standard of care by the American
Red Cross, Southeast Division, substantially caused or contributed to Plaintiff, Cassandra
Marshall, suffering a stroke and resulting brain damage

79.. The Aflidavit of Edward L. Snyder, M.D., attached hereto as Exhibit “F”,
sets forth at least one negligent act against Defendant, American Red Cross, Southeast
Division, for the actions of these physicians

80 As a result of the actions and/or failures to act of Defendant, Arnericarr Red

Cross, Southeast Division, Plaintiff, Cassandra Marshall, suffers from severe and

permanent brain damage

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S]. Pur'suant to O..C.G.A. §9-11-9.2, Plaintiffs, Cassandra Marsha]l,
Individually and Apondrea Marshall, lndividually and as Next Friend of Cassandra
Marshall, attach hereto the medical authorizations executed by Apondrea Marshall, as
lawful Spouse of Cassandra'Marshall, Which permits the attorneys representing the
Defendants in this action to obtain Plaintiff, Cassandra Marshall’s medical records (See
Authorization for Medical and Hospital lnforrnation attached hereto as Exhibit “G”)

V.
DAMAGES

82. By reason of the aforesaid facts and negligent acts of the Defendants, lyotir'
Mehta, M.D , Lung Diagnostics LLC, Deborah Z. McCarthy, Mark N. Burns, M.D ,
Southwest Georgia Pathology, Southem Healthcare Management, lnc, lohn Thomas
Duelge, M D , Phoebe Cancer Center, Palmyra Park Hospital, lnc.. d/b/a Palrnyra Medical
Center, Phoebe Putney Mernorial Hospital, lnc and American Red Cross, Southeast
Division, and the premises herein, which constitute medical negligence, the Plaintiffs,
Cassandra Marshall, lndividually and Apondrea Marshall, Individually and as Next
Friend of Cassandra Marshall, are entitled to recover nom the Defendants, Iyotir Mehta,
M D., Lung Diagnostics LLC, Deborah Z McCarthy, Mark N. Burns, M.D., Southwest
Georgia Pathology, Southern Healthcare Management, lnc., lohn Thomas Duelge, M.D ,
Phoebe Cancer' Center', Palmyra Park Hospital, lnc. d/b/a Palrnyra Medical Cerrter,
Phoebe Putney Memorial Hospital, Inc. and American Red Cross, Southeast Division,
Special Damages for, among other things, lost Wages, lost ability to labor and medical

expenses, in an amount to be shown to a lury

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83. Ihat by reason of the aforesaid facts and negligent acts of the Defendants,
Jyotir Mehta, M.D., Lung Diagnostics LLC, Deborah Z McCarthy, Mark N.. Burns,
M.D., Southwest Georgia Pathology, Southern Healthcare Management, lnc, lohn
Thomas Duelge, M D , Phoebe Cancer Center, Palrnyra Park Hospital, Inc.. d/b/a Palrnyra
Medical Center, Phoebe Putney Mernorial Hospital, lnc. and American Red Cross,
Southeast Division, and the premises herein, which constitute medical negligence, the
Plaintiffs, Cassandra Marshall, lndividually and Apondrea Marshall, lndividually and as
Next Friend of Cassandra Marshall, are entitled to recover nom the Defendants, .lyotir
Mehta, M.D , Lung Diagnostics LLC, Deborah Z. McCarthy, Mark N.. Burns, M.D.,
Southwest Georgia Pathology, Southern Healthcar'e Managernent, lnc.., John Thomas
Duelge, M.D , Phoebe Cancer Center, Palrnyra Park Hospital, lnc., d/b/a Palrnyra Medical
Center, Phoebe Putney Memorial Hospital, lnc., and American'Red Cross, Southeast
Division, General Darnages for excruciating mental and physical Pain and Suffering and
loss of enjoyment of life endured by PlaintiH`, Cassandra Marshall, and loss of
companionship, love and affection, also known as loss consortium sustained by her
husband, Apondrea Marshall, in an amount to be determined by a lury .

84. That the Plaintiffs, Cassandra Marshall, hidividually and Apondrea
Marshall, lndividually and as Next Friend of Cassandra Mar'shall, seek a Ver'dict and
Judgment for Damages against the Defendants, Jyotir Mehta, M D., Lung Diagnostics
LLC, Deborah Z McCarthy, Mark N. Burns, M.D., Southwest Georgia Pathology,
Southern Healthcare Managernent, lnc., Iohn Thomas Duelge7 M.D , Phoebe Cancer
Center', Palrnyra Park Hospital, lnc d/b/a Palmyra Medical Center, Phoebe Putney

Memorial Hospital, lnc. and American Red Cross, Southeast Division, on each and all or
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the claims against the Defendants, lyotir Mehta, M D , Lung Diagnostics LLC, Deborah
Z McCarthy, Mark N Burns, M.D , Southwest Georgia Pathology, Southern Healthcare
Management, lnc , lohn Thomas Duelge, M.D , Phoebe Cancer Center, Palrnyra Park
Hospital, Inc. d/b/a Palmyra Medical Center, Fhoebe Putney Memorial Hospital, lnc. and
American Red Cross, Southeast Division, as set forth herein in an amount in excess of
$I0,000 00
85v lhe Plaintiffs, Cassandra Marshall, lndividually and Apondrea Marshall,
lndividually and as Next Friend of Cassandra Marshall, further allege that O C.G.A. §Sl-
13-1 limiting the amount of non-economic damages in Medical Malpractice actions
violates the Constitution of the United States of America and the Constitution of the State
of Georgia as it fails to provide Due Process and Equal Protection under the laws to
victims of Medical Malpractice and does not provide for full and adequate compensation
to Plaintil`fs, Cassandra Marshall, lndividually and Apondrea Mar'shall, lndividually and
as Next Fnend of Cassandra Marshall, herein or other similarly situated Plaintiffs
PRAYER
WHEREFORB, the Plaintiffs, Cassandra Marshall, lndividually and Apondrea
Marshall, lndividually and as Next Friend ofCassandra Marshall, pray:
A That Summons and Process be issued on this Complaint, as
required by law, to be served on Defendants, Jyotir Mehta, M.D.,
Lung Diagnostics LLC, Deborah Z McCarthy, Mark N.¢ Burns,
M~D., Southwest Georgia Pathology, Southern Healthcare
Management, Inc, lohn Thomas Duelge, M.D., Phoebe Cancer

Center', Palrnyra Park Hospital, lnc, d/b/a Palrnyra Medical Center,
- 13 _

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Phoebe Putney Memorial Hospital, lnc. and American Red Cross,
Southeast Division, along with a copy of the Complaint, as
provided by law, allowing these Defendants, rlyotir Mehta, M.D ,
Lung Diagnostics LLC, Deborah Z McCarthy, Mark N. Burns,

MD, Southwest Georgia Pathology, Southern Healthcare

. Management, lnc., .lohn Thomas Duelge, M.D., Phoebe Cancer

Center, Palrnyra Park Hospital, lnc. d/b/a Palrnyra Medical Center,
Phoebe Putney Memorial I-lospital, lnc. and American Red Cross,
Southeast Division, to tile an Answerl to this Complaint, in the
terms of law; and/or

'l`hat the issues herein be tried by a lury; and/or

l`hat the Plaintiffs, Cassandra Marshall, lndividually and Apondrea
Marshall, lndividually and as Ne)rt Friend of Cassandra Marshall,
have ludgrnent in an amount to be determined by a lury on their
claims for Special and Gener'al Damages against the Defendants,
lyotir Mehta, M D., hung Diagnostics LLC, Deborah Z.
McCarthy, Mark N Burns, M D., Southwest Georgia Pathology,
Southern Healthcare Management, lnc., lohn Thomas Duelge,
M D.., Phoebe Cancer Center, Palrnyra Park Hospital, lnc d/b/a
Palmyra Medical Center, Phoebe Putney Memorial Hospital, lnc
and American Red Cross, Southeast Division, as set forth in this
Complaint; and/or

lhat the Plaintiffs, Cassandra Mar'shall, lndividually and Apondrea

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Marslrall, lndividually and as Next Friend of Cassandra Marshall,
have a ludgrnent against the Defendants, .lyotir Mehta, M.D., Lung
Diagnostics LLC, Deborah Z. McCarthy, Mark N. Burns, M.D ,
Southwest Georgia Pathology, Southern Healthcare Management,
lnc , lohn Thomas Duelge, M.D , Phoebe Cancer Center, Palrnyra
Park Hospital, lnc. d/b/a Palrnyra Medical Center, Phoebe Putney
Memorial Hospital, lnc. and American Red Cross, Southeast
Division, in an amount in excess of $l0,000..OO as set forth in this
Complaint and as shown at the trial of this case; and/or

lhat all the Costs of Court be taxed against the Defendants, lyotir
Mehta, M.D , Lung Diagnostics LLC, Deborah Z. McCarthy, Mark
N. Burns, M"“D~, Southwest Georgia Pathology, Southern
Healthcare Management, lnc., lohn Thomas Duelge, M D, , Phoebe
Cancer Center, Palrnyra Park Hospital, lnc. dfb/a Palrnyra Medical
Center, Phoebe Putney Memorial Hospital, lnc and American Red

Cross, Southeast Division

[SIGNAIURES CONTAINED ON FOLLO WING PAGE]

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l`hisg_»l§§day of September, 2009..

COUNSE,L FOR PLAINIIPFS

B.Yr /} /

con s Lts&man, Esquire
norma Bar No 850780

Krupnick, Carnpbell, Malone, Buser,
Slama, Hancock, Liberman & McKee, P..A..
700 s..E. 3“1 Avenue - suits 100

Port Lauderdale, FL 33316

Phone: 954-763-8181

By; T,l/l/M %”j

T Miirs Fremrng, Esquire '
Georgia Bar Nor 263560

Hunter, Maclean, Exley & Dunn, P.C.
200 E.. Saint .lulian Street

Savannah, GA 31412

Phone: 912-236-0261

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STATE OF CONNETICUI`T)
)
COUNTY OF NEW HAVEN)

A_FFIDAVIT OF EDWARD L. SNYDER. M.D.

COMES NOW, EDWARD L SNYDER, M D.., who after being duly sworn

 

before an officer authorized to administer oaths, deposes and states as follows:
l
I arn over the age of 18 and give this Afidavit of my own personal knowledge
2
l am a physician licensed to practice medicine in the State ofConnecticut and Was
so licensed at the time at which the negligent acts or' omissions described herein occurred
I am certified by the American Board of`Medical Exarniners, the American Board of
Internal Medicine with a subspecialty in Hematology and the American Board of
Pathology with a Diplomate in Blood Banking/ Transfusion Medicine A true and correct
copy of my curriculum vitae is attached hereto
3..
I have reviewed copies ofthe following medical records in relation to the medical
care and treatment received by Cassandra Marshall:
Medical Records:
A) Phoebe Putney Memorial Hospital admission from 10/19/07 through
10/29/07; (abstract) H&P, Consults, Laborator'y and Blood Bank r'ecords;
B) Colquitt Regional Medical Center from 3/7/08 through 3/8/08; and

C) Phoebe Putney Memorial Hospital from 3/8/08 through 4/12/08

 
 

 

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Addiaonarry, rr is my understanding that on March s"‘ 2008, cassandm Marsharr
was admitted to Phoebe Putney Memorial Hospital through the emergency room under
the care of attending physician Jyotir Mehta, M.D , with the chief complaint ofback pain,
leg pain and pain all over, complicated by nausea and vomiting, due to sickle cell crisis..
On exam Cassandra Marshall’s temperature was 96.7, blood pressure 140/89, pulse 78,

respirations 20 and oxygen saturation was 95% on 2 liters of oxygen via nasal cannula.

She was in a moderate amount ofpain and was given intravenous Dilaudid. A CT scan of

the brain showed no intracranial hemorrhage and mucosal thickening of the ethmoid
sinuses.. Ther'e was no acute CVA.. A chest x-ray obtained showed bilateral innltrates and
atelectasis. She is admitted under the care of.lyotir Mehta, M..D.., (Critical Care / lnternal
Medicine) and a hematology/ oncology consultation was ordered On 3/9/08, an order to
type and crossmatch 4 units ofpacked red blood cells is written On 3/10/08, lohn Thos
Duelge, M.Dr, (Hematologist) examined Cassandra and Wrote an order for red cell
exchange “today”. On 3/l l/08 at 08:45, Dr'.. Duelge spoke to the blood bank regarding
the importance of the blood exchange and later that day at 16:30, the blood bank
exchange team stated that they will not be able to transfuse on that day because the
results were pending .lyotir Mehta, M.D.., was notified as well as lohn Duelge, M,D.
Cassandra Marshall’s medical condition deteriorated and she went into respiratory failure
requiring intubation.. She then had a hemoglobin of`6 .5 and hernatocn`t 18 .4. On 3/11/08
at 13 :32, an MRI of the brain showed an abnormal exam with an overall pattern most
suspicious for changes related to areas of infarction.. On 3/12/08, the day after the stroke,
a dialysis catheter Was placed for exchange transfusion and 6 units of'red blood cells
were started at 2 p m Cassandra Mar'shall was eventually extubated and transferred to

Shepard’s, a neurological rehabilitation facility for continued care and treatmentl

 

 

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4
Thr'ough education, training and experience, I am familiar with the standards of

care generally employed in the medical Beld of internal medicine and pathology, in

 

management and evaluation of patients suffering sickle cell crisis
5.

At the time at which the negligent acts and omissions described herein occurred, l
had actual professional knowledge and experience in the medical field of internal
medicine and pathology for at least three oft.he last Hve years and was (and still arn)
knowledgeable about the evaluation, diagnosis, differential diagnosis, possible
complications, and treatment, management and evaluation of patients with sickle cell
crisis

6.

Based upon my review of the above-described medical records, it is my opinion,
within a reasonable degree of medical probability that .lyotir Mehta M.D ., deviated from
the appropriate standards of medical care by failing to recognize the seriousness of
Cassandra Marshall’s clinical presentation and that her clinical presentation required an
exchange transfusion to be performed no later than the morning ofMarch llm, 2008
lyotir Mehta, M.D., failed to get this treatment to timely occurl

‘7.

Based on my review of'the above-described medical r'ecords, it is my opinion,

within a reasonable degree of medical probability that lyotir Mehta, M.D., deviated from

the appropriate standards of medical care

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8,
As a result of these deviations nom the usually accepted standard of medical care,
Cassandra Marshall suffered a stroke, and resulting brain damagel
9
The opinions expressed herein are the product of` reliable principles and methods
developed as a result of my actual professional knowledge, experience, education and
training in the field of internal medicine and pathology Furthermore, l applied said
principles and methods reliany to the facts of this case in reaching the opinions

expressed herein,

l 0 .
This affidavit is given in conformance With 0 C.G..A. §§ 9--11 -9.1 and 24-9-67.1
and is not dispositive of all of` my opinions relative to this case

FURTHER APFIANT SAYETH NOT

gri/fri a irl/rr

Edw$r~d't. snyder, M.D.,

Swom to and subscribed
Before me this he

554 day Of ,2009
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NOTARY PUBLIC
My Commission Expires:

 

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-. Not¢l'y Public

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STA'I'E OF CONNEI`ICUI"I)
)
COUNTY OP N'EW HAVEN]

AFFIDAVIT OF EDWARD L. SNYDER. M.D.
COMES NOW, EDWARD L, SNYDER, M.D., who alter being duly sworn
before an officer authorized to administer oaths, deposes and states as follows:
1
I am over the age of 18 and give this Affidavit of my own personal knowledge
2
I am a physician licensed to practice medicine in the State ofConnecticut and was
so licensed at the time at which the negligent acts or omissions described herein occurred
l am certified by the American Board of'Medical Exarniners, the American Board of
lntemal.Medicine With a subspecialty in Hematology and the American Board of
Pathology with a Diplomate in Blood Banlcing Transfusion Medicine.. A true and correct
copy of my curriculum vitae is attached hereto.
3..
l have reviewed copies of the following medical records in relation to the medical
care and treatment received by Cassandra Marshall:

Medical Records:

A) Phoebe Putney Memorial Hospital admission from 10/19/07 through
10/29/07; (abstract) H&P, Consults, Laboratory and Blood Bank records;
B) Colquitt Regional Medical Center from 3/7/08 through 3/8/08; and

C) Phoebe Putney Memorial Hospital from 3/8/08 through 4/12/08

W

  
 

 

  

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Addirionany, rr is my understanding mar on March 8““ 2008, cassandra Mar-sharr
was admitted to Phoebe Putney Mernorial Hospital through the emergency room under
the care of attending physician .lyotir Mehta, M D ., with the chief complaint ofbaclc pain,
leg pain and pain all over', complicated by nausea and vomiting, due to sickle cell crisis..
On exam Cassandra Marshall’s temperature was 96.47, blood pressure 140/89, pulse 78,
respirations 20 and oxygen saturation was 95 % on 2 liters of oxygen via nasal cannula.
She was in a moderate amount ofpain and was given intravenous Dilaudid A CT scan of
the brain showed no intr'acr'anial hemorrhage and mucosal thickening ofthe ethmoid
sinuses. There was no acute CVA. A chest x~r'ay obtained showed bilateral infiltrates and
atelectasis. She is admitted under the care of .lyotir Mehta, M.D., (Critical Car'e / Internal
Medicine) and a hematology/ oncology consultation was ordered On 3/9/08, an order to
type and cr'ossmatch 4 units ofpacked red blood cells is writtenll On 3/10/08, John Thos
Duelge, M.D., (Hematologist) examined Cassandra and wrote an order for red cell
exchange “today”. On 3/11/08 at 08:45, Dr. Duelge spoke to the blood bank regarding
the importance of`the blood exchange and later that day at 16:30, the blood bank
exchange team stated that they will not be able to transfuse on that day because the
results were pending .lyotir Mehta, M.,D ., was notified as well as .lohn Duelge, M..D.
Cassandra Marshall’s medical condition deteriorated and she went into respiratory failure
requiring intubation. She then had a hernoglobin of 65 and hematocrit 18 .4 On 3/1 1/08
at 13:32, an MRI of the brain showed an abnormal exam with an overall pattern most
suspicious for changes related to areas of infarction.. On 3/12/08, the day after the stroke,
a dialysis catheter was placed for exchange transfusion and 6 units of red blood cells
were started at 2 p..rn. Cassandra Marshall was eventually extubated and transferred to

Shepard’s, a neurological rehabilitation facility for continued care and treatment

 

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4

l`hrough education, training and experience, l am familiar With the standards of
care generally employed in the medical field of internal medicine and pathology, in
management and evaluation ofpan'ents suffering sickle cell crisis.

5.

At the time at Which the negligent acts and omissions described herein occurred, l
had actual professional knowledge and experience in the medical field of internal
medicine and pathology for at least three of the last five years and was (and still arn)
knowledgeable about the evaluation, diagnosis, differential diagnosis, possible
complications, and treatment, management and evaluation of patients With sickle cell
crisis

6.

Based upon my review of the above-described medical records, it is my opinion,
within a reasonable degree of medical probability that lohn Ihomas Duelge, M.D ,
deviated from the appropriate standards of medical care by failing to recognize the
seriousness of Cassandra Marshall’s clinical presentation and that her clinical
presentation required an exchange transfusion to be performed no later than the morning
of March llu‘, 2008. J olin Thomas Duelge, M D., failed to get this treatment to timely
occur

7.

Based on my review of the above-described medical records, it is my opinion,

within a reasonable degree ofmedical probability that John Thomas Duelge, M,D .,

deviated nom the appropriate standards of medical care

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8.

As a result of these deviations nom the usually accepted standard of medical care,

Cassandra Marshall suffered a stroke, and resulting brain damage
9

The opinions expressed herein are the product of reliable principles and methods

developed as a result of my actual professional lmowledge, experience, education and

training in the field of internal medicine and pathology Furthermore, I applied said

principles and methods reliably to the facts of this case in reaching the opinions

expressed herein

lO

This affidavit is given in conformance with O.C.G.A. §§ 9-ll ~9..1 and 24-9--67.1
and is not dispositive of all of'my opinions relative to this case

FURTHER AFFIANT SAYETH NOT.

M/llllm

Edward L. Snyd#, MD

Swom to and subscribed
Before me this the

lv'fl_ day of_j__, 2009
\Qr/" /@ ZQQQW-N

NOTARY PUBLIC
My Cornmission Expires:

JANETa crsKowsKi
" ` Notary Public

%?¢»¢ My Comm Expires Aug 31.2013

 

  

 

 

 

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STA'IE OF CONNETICUTT )
)
COUNTY OF NEW HAVEN)

AFFIDAVIT OP EDWARD L. SNYDER. M.D.
COMES NOW, EDWARD L SNYDER, M.D., who after being dulyl Sworn

before an officer authorized to administer oaths, deposes and states as follows:

l..
I am over the age of 18 and give this Afiidavit ofmy own personal knowledge
2.

l am a physician licensed to practice medicine in the State of Connecticut and was
so licensed at the time at which the negligent acts or omissions described herein occurred
l am certified by the American Board of'Medical Examiner’s, the American Board of
lnterna.l Medicine with a subspecialty in Hematology and the American Board of
Pathology with a Diplomate in Blood Bankjng/ Transfusion Medicine. A true and correct
copy of my curriculum vitae is attached her eto.

3

I have reviewed copies of the following medical records in relation to the medical

care and treatment received by Cassandra Marshall:

Medical Records:
A) Phoebe Putney Memorial Hospital admission from 10/ l 9/07 through

10/29/0 7 ; (abstract) H&P, Consults, Laboratory and Blood Bank records;
B) Colquitt Regional Medical Center from 3/7/ 08 through 3/8/08; and

C) Phoebe Putney Memorial Hospital from 3/8/08 through 4/12/08

 

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Additionally, it is my understanding that on March 8"‘ 2008, Cassandra Marshall
was admitted to Phoebe Putney Memorial Hospital through the emergency room under
the care of attending physician .lyotir Mehta, M..D.., with the chief complaint ofback pain,
leg pain and pain all over, complicated by nausea and vomiting, due to sickle cell crisis
On exam Cassandra Marshall’s temperature was 96 .7, blood pressure 140/8 9, pulse '78,
respirations 20 and oxygen saturation was 95% on 2 liters of oxygen via nasal cannula
She was in a moderate amount ofpain and was given intravenous Dilaudid. A CT scan of
the brain showed no intracranial hemorrhage and mucosal thickening of the ethmoid
sinuses.. There was no acute CVA, A chest x--ray obtained showed bilateral infiltrates and
atelectasis., She is admitted under the care of`.lyotir Mehta, M.D., (Ciitical Care / lntemal
Medicine) and a hematology/ oncology consultation was ordered On 3/9/08, an order to
type and crossmatch 4 units ofpacked red blood cells is written On 3/10/08, .lohn
Thomas Duelge, M.D.., (Hematologist) examined Cassandra and wrote an order for red
cell exchange “toda'>f’. Deborah McCarthy (Lab Director) failed to execute the red blood
cell exchange transfusion as ordered On 3/1 l/08 at 08:45, Dr Duelge spoke to the blood
bank regarding the importance of`the blood exchange and later that day at 16:30, the staff
stated that they will not be able to tr'ansf`use on that day because the results were pending
.lyotir Mehta, M.D.., was notified as well as lohn Duelge, M..D Cassandra Marshall’s
medical condition deteriorated and she went into respiratory failure requiring intubation.
She then had a hemoglobin of`6.5 and hematocrit 18..4.. On 3/l l/08 at 13:32, an MR_I of
the brain showed an abnormal exam with an overall pattern most suspicious for changes
related to areas of infar ction.. On 3/12/08, the day after the stroke, a dialysis catheter was

placed for exchange transfusion and 6 units of red blood cells were started at 2 p m.

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Cassandra Marshall was eventually extubated and transferred to Shepard’s, a
neurological rehabilitation facility for continued care and heatinth
4.

Through education, training and experience, l am familiar with the standards of'
care generally employed in the medical field of‘internal medicine and pathology, in
management and evaluation of patients suffering sickle cell crisis

5.

At the time at which the negligent acts and omissions described herein occurred, l
had actual professional knowledge and experience in the medical field of‘internal
medicine and pathology for at least three of the last five years and was (and still am)
knowledgeable about the cvaluation, diagnosis, differential diagnosis, possible
complications, and treatment, management and evaluation of`patients with sickle cell
crisis

6.

Based upon my review of' the above-described medical records, it is my opinion,
within a reasonable degree of'medical probability that Deborah Z McCarthy, Laboratory
Director, as well as hospital staff'worlcing in the lab failed to exercise the appropriate
standards of care in the processing of'the orders to cross-match and obtain blood for
needed transfusion on an emergency basis l know the standard of care to be exercised by
a person in the lab regarding the cross-matching, ordering of'blood products, and
testing/preparing of'blood products to be used by a patient and in this case the time frame

to complete these functions were too long or excessive

 

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7..
Based on my review of`the above-described medical records, it is my opinion,
within a reasonable degree of'medical probability that Deborah Z. McCarthy, Labor'atory

Director deviated from the appropriate standards of`medical care

8.
As a result of these deviations from the usually accepted standard of medical care,

Cassandra Marshall suffered a stroke, and resulting brain damage
9.

The opinions expressed herein are the product of reliable principles and methods
developed as a result of my actual professional knowledge, experience, education and
training in the field of internal medicine and pathology. Furtherrnore, l applied said
principles and methods reliably to the facts of this case in reaching the opinions

expressed herein..

10.
This affidavit is given in conformance with O.C.G.A. §§ 9-ll ~-9.l and 24-9-67 .l

and is not dispositive of all of`my opinions relative to this case

FURTHER APFIANT SAYETH NOT. f
%/‘»l ,mr)

Edward L. Snyd , M.D.

 

Sworn to and subscribed
Before me this the

M day of\_)glq_, 2009
pled f dams&

NOTARY PUBLIC
My Commission Expires: 9 57 ‘

.-..-»_.~_'.‘z.

" lamar s crsr<owsi<r
§§ No£ary Public
My Comrn Explres Aug . 31. 2013

 

 

 

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STAIE OP CONNE'IICUT‘I`)

)
couNrY oF NEW HAVEN)

AFFIDAVIT OF EDWARD L. SNYDER, M.D.
COM:ES NOW, EDWARD L.. SNYDER, M.D., who alter being duly sworn

before an ofi`rcer authorized to administer oaths, deposes and states as follows:

l
l am over the age of` 18 and give this Afiidavit of my own personal knowledge
2
l arn a physician licensed to practice medicine in the State of`Cormecticut and was
so licensed at the time at which the negligent acts or omissions described herein occurred
I am certiiied by the American Board of Medical Examiners, the American Board of
Intemal Medicine with a subspecialty in Hematology and the American Board of
Pathology with a Diplomate in Blood Banldng/ l`ransfusion Medicine. A true and correct
copy of'rny curriculum Vitae is attached hereto
3.
l have reviewed copies of the following medical records in rclan`on to the medical
care and treatment received by Cassandra Marsirall:

Medical Records:
A) Phoebe Putney Mernorial Hospital admission from 10/19/07 through

10/2 9/07; (abstract) H&P, Consults, Labor'atory and Blood Bank records;
B) Colquitt Regional Medical Center from 3/7/08 through 3/8/08; and

C) Phoebe Putney Memorial Hospital from 3/8/08 through 4/12/08.

b

 

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Additionally, it is my understanding that on March B‘h 2008, Cassandra Marshall
was admitted to Phoebe Putney Memorial Hospital through the emergency room under
the care of attending physician lyotir Mehta, M .D , with the chief complaint of`back pain,
leg pain and pain all over, complicated by nausea and vomiting, due to sickle cell crisis
On exam Cassandra Marshall’s temperature was 96,.7, blood pressure 140/89, pulse 78,
r'espirations 20 and oxygen sanitation was 95% on 2 liters of oxygen via nasal carmula.
She was in a moderate amount of`pain and was given intravenous Dilaudid A C'l scan of
the brain showed no inn'acranial hemorrhage and mucosal thickening of'the ethmoid
sinuses. There was no acute CVA. A chest x-ray obtained showed bilateral infiltrates and
atelectasis.. She is admitted under the care of.lyotir Mehta, M D ., (Critical Care / lnternal
Medicine) and a hematology/ oncology consultation was ordered On 3/9/08, an order to
type and crossmatch 4 units of`packed red blood cells is written On 3/10/08, lohn 'l`hos
Duelge, M.D., (Hematologist) examined Cassandra and wrote an order for red cell
exchange “today". On 3/11/08 at 08:45, Dr.. Duelge spoke to the blood bank regarding
the importance of the blood exchange and later that day at 16:30, the blood bank
exchange team stated that they will not be able to tr'ansf`use on that day because the
results were pending .lyotir Mehta, M.D., was notified as well as .lohn Duelge, M.D.
Cassandra Marshall’s medical bondition deteriorated and she went into respiratory failure
requiring intubation.. She then had a hemoglobin of 6..5 and hematocrit 18..4.. On 3/11/08
at 13:32, an MRI of'the brain showed an abnormal exam with an overall pattern most
suspicious for changes related to areas of infarction On 3/12/08, the day after the stroke,
a dialysis catheter was placed for exchange transfusion and 6 units of red blood cells

were started at 2 p..rn Cassandra Marshall was eventually extubated and transferred to

Shepard’s, a neurological rehabilitation facility for continued care and treatment.

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4.

'Ihrough education, training and experience, lam familiar with the standards of
care generally employed in the medical field of internal medicine and pathology, in
management and evaluation of patients suffering sickle cell crisis

5..

At the time at which the negligent acts and omissions described herein occurred, l
had actual professional knowledge and experience in the medical field of` internal
medicine and pathology for at least three of`the last five years and was (and still am)
knowledgeable about the evaluation, diagnosis, differential diagnosis, possible
complications and treatment, management and evaluation of patients with sickle cell
crisis

6.

Based upon my review of the above-described medical r'ecords, it is my opinion,
within a reasonable degree of`rnedical probability that Mark N.. Burns, M.D~, Medical
Director, deviated from the appropriate standards of medical care by failing to recognize
the seriousness of Cassandra Marshall’s clinical presentation and that although her
clinical presentation required an exchange transfusion to be performed no later than the
morning of March llth, 2008. Mark N.. Bums, M.D., Medical Director, failed to get this
treatment to timely occur

7"

Based on my review of'the above-described medical records, it is my opinion,

within a reasonable degree of`rnedical probability that Mark N. Burns, M D., Medical

Director', deviated from the appropriate standards ofrnedical care..

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8.

As a result ot these deviations from the usually accepted standard of medical care,

Cassandra Marshall suffered a stroke, and resulting brain damage
94.

The opinions expressed herein are the product of`reliable principles and methods
developed as a result of my actual professional knowledge, experience, education and
training in the field of internal medicine and pathology Furthermore, I applied said
principles and methods reliably to the facts of this case in reaching the opinions
expressed herein

10.

This affidavit is given in conformance with O.C G`.A. §§ 9-11 -9.1 and 24-9-67.1

and is not dispositive of all of my opinions relative to this case

FUR’IHER AFFIAN'I` SAYETH NOT..

 

M¢;itw l/z/W

Edwardf,. Snyder, M..D.

Sworn to and subscribed
Before me this the

§[Q day ofgif_["'l , 2009
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N()TAR.Y PUBLIC
My Commission Expires:

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S'I`ATE OP CONNETICUT T)
)
COUN"I'Y OF NEW HAVEN)

APFIDAVIT O}" EDWARD L. SNYDER, M.D.

COMES NOW, EDWARD L. SNYDER, M.D., who alter being duly sworn
before an officer authorized to administer oaths, deposes and states as follows:
l
l arn over the age of 1 8 and give this Af`frdavit of` my own personal knowledge
2._

I am a physician licensed to practice medicine in the State of Connecticut and was
so licensed at the time at which the negligent acts or omissions described herein occurred
l arn certiiied by the American Board ofMedical Exann'ner's, the American Board of
lnternal Medicine with a subspecialty in Hematolog_y and the American Board of
Patholog_y with a Diplomate in Blood Banking/ 'lransfusion Medicine A true and correct
copy of'rny curriculum vitae is attached hereto

3d

I have reviewed copies of'the following medical records in relation to the medical

care and treatment received by Cassandra Marshall:

Medical Records:

A) Phoebe Putney Mcmorial Hospital admission from 10/19/07 through
10/29/07; (abstract) H&P, Consults, Laboratory and Blood Bank records;
B) Colquitt Regional Medical Center from 3/7/08 through 3/8/08; and

C) Phoebe Putney Memorial Hospital from 3/8/08 through 4/12/08..

 
 

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Additionally, it is my understanding that on March 8th 2008, Cassandra Marshall
was admitted to Phoebe Putney Mernorial Hospital through the emergency room under
the care of attending physician .lyotir Mehta, M.D ., with the chief complaint of back pain,
leg pain and pain all over', complicated by nausea and vomiting, due to sickle cell crisis
On exam Cassandra Marshall’s temperature was 96..7, blood pressure 140/89, pulse '78,
respirations 20 and oxygen saturation was 95% on 2 liters of oxygen via nasal carmula.
She was in a moderate amount of'pain and was given intravenous Dilaudid. A CT scan of
the brain showed no intracranial hemorrhage and mucosal thickening of`the ethmoid
sinuses. There was no acute CVA A chest x-ray obtained showed bilateral innltrates and
atelectasis.. She is admitted under the care of.lyotir Mehta, M.D., (Critical Care / lnternal
Medicine) and a hernatology/ oncology consultation was ordered On .3/9/08, an order to
type and crossmatch 4 units of'pacl<ed red blood cells is written On 3/10/08, .lohn Thos
Duelge, M..D., (Hernatologist) examined Cassandra and wrote an order for red cell
exchange “today”.. On 3/11/08 at 08:45, Dr.. Duelge spoke to the blood bank regarding
the importance of the blood exchange and later that day at 16:30, the blood bank
exchange team stated that they will not be able to transfuse on that day because the
results were pending Jyotir Mehta, M.D., was notified as well as .lohn Duelge, M.,D.
Cassandra Marshall’s medical condition deteriorated and she went into respiratory failure
requiring intubation. She then had a hemoglobin of6..5 and hematocrit 18 4. On 3/11/08
at 13: 32, an Mle of the brain showed an abnormal exam with an overall pattern most
suspicious for changes related to areas of infarction On 3/12/08, the day after the stroke,
a dialysis catheter Was placed for exchange transfusion and 6 units of red blood cells
were started at 2 p..rn.. Cassandra Marshall was eventually extubated and transferred to

Shepard’s, a neurological rehabilitation facility for continued care and treatment

 

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4.

Through education, training and experience l am familiar with the standards of
care generally employed in the medical field of internal medicine and pathology, in
management and evaluation of patients suffering sickle cell crisis `

5.

At the time at Which the negligent acts and omissions described herein occurred, I
had actual professional knowledge and experience in the medical field of internal
medicine and pathology for at least three of`the last live years and was (and still arn)
knowledgeable about the evaluation, diagnosis, differential diagnosis, possible
complications, and treatrnent, management and evaluation of patients with sickle cell
crisis

6..

Based upon my review of the above-described medical records, it is my opinion,
within a reasonable degree of medical probability that Phoebe Putney Memorial Hospital
lnc , deviated from the appropriate standards ofmedical care by failing to recognize the
seriousness ot Cassandra Marshall’s clinical presentation and that her clinical
presentation required an exchange transfusion to be performed no later than the morning
of March l 1‘*‘, 2008.. Phoebe Putney Meniorial l-lospital failed to get this treatment to
timely occur.

7.
Based on my review of`the above-described medical records, it is my opinion,

within a reasonable degree of medical probability that Phoebe Putney Mernorial Hospital

deviated nom the appropriate standards of medical care

 

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8.

As a result of'these deviations from the usually accepted standard of`medical care,
Cassandra Marshall suffered a stroke, and resulting brain damage

9.

The opinions expressed herein are the product ot'reliable principles and methods
developed as a result of my actual professional knowledge, experience, education and
training in the field of internal medicine and pathologyl Furthermore, l applied said
principles and methods reliably to the facts of this case in reaching the opinions
expressed herein

l 0 .
This atlidavit is given in conformance with O.C.G.,A.. §§ 9-11 -9.l and 24~9-67.1

and is not dispositive of all ot'my opinions relative to this case

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seward L.. sdyde'r, M..D,.

Sworn to and subscribed
Befor'e me this the
g313 day organ , 2009

NOTARY PUBLIC
My Comrnission Expires:

 

 

JANETR clss<owsi<i
, ~ Notary Pubzic

My Comm EXpl|'eS Aklg 3112013

 

 

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STATE OF CONNETICUTT)

)
CoUNTY or NEW HAVENJ

AFFIDAVIT OF EDWARD L. SNYDER. M.D.
COMBS NOW, EDWARD L. SNYDER, M.D , who alter being duly sworn
before an ofncer authorized to administer oaths, deposes and states as follows:
l
l am over the age of 18 and give this Affidavit of my own personal knowledge
2..

l am a physician licensed to practice medicine in the State of Connecticut and was
so licensed at the time at which the negligent acts or omissions described herein occurred
l am certified by the American Board ofMedical Examiners, the American Board of
Internal Medicine with a subspecialty in Hematology and the American Board of
Path'ology With a Diplomate in Blood Banl<ing/ Transfusion Medicinell A true and correct
copy of my curriculum vitae is attached hereto

3

l have reviewed copies ofthe following medical records in relation to the medical

care and treatment received by Cassandra Marshall:

Medical Records:

 

A) Phoebe Putney Memorial Hospital admission from 10/19/07 through
10/29/07; (abstract) H&P, Consults, laboratory and Blood Bank records;

B) Colquitt Regional Medical Center from 3/7/08 through 3/8/08; and

C) Phoebe Putney Memorial Hospital from 3/8/08 through 4/12/08

Additionall_y, it is my understanding that on March B‘h 2008, Cassandra Marshall
was admitted to Phoebe Putney Memorial Hospital through the emergency room under
the care of attending physician lyotir Mehta, M.D ., with the chief complaint ofback pain,

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leg pain and pain all over', complicated by nausea and vomiting, due to sickle cell crisis
On exam Cassandra Marshall’s temperature was 96 .7, blood pressure 140/8 9, pulse 78,
respirations 20 and oxygen saturation was 95% on 2 liters of oxygen via nasal cannula z n
She was in a moderate amount of pain and was given intravenous Dilaudid. A C’l scan of
the brain showed no intracranial hemorrhage and mucosal thickening of the ethmoid
sinuses. There was no acute CVA. A chest x-ray obtained showed bilateral infiltrates and
atelectasis She was admitted under the care of Iyotir Mehta, M.D ., (Critical Care /
lnternal Medicine) and a hematology/ oncology consultation was ordered On 3/9/08, an
order to type and crossmatch 4 units ofpacked red blood cells Was written On 3/10/08,
lohn Thomas Duelge, M ,D.., (Hematologist) examined Cassandra and wrote an order for
red cell exchange “today” The American Red Cross failed to timely deliver properly
crossmatched blood and Deborah McCarthy (Lab Director) failed to execute the red
blood cell exchange transfusion as ordered.. On 3/11/08 at 08:45, Dr. Duel_ge_spoke to the
blood bank regarding the importance ofthe blood exchange and later that day at 16:30,
the staff stated that they would not be able to transfuse on that day because the results
were pending .Jyotir Mehta, M.D., was notified as well as John Duelge, M..D. Cassandra
Marshall’s medical condition deteriorated and she went into respiratory failure requiring
intubation. She then had a hemoglobin of 6.5 and hernatocrit 18 .4 On 3/11/08 at 13:32,
an MRI ofthe brain showed an abnormal exam with an overall pattern most suspicious
for changes related to areas of infarction On 3/12/08, the day after the stroke, a dialysis
catheter was placed for exchange transfusion and 6 units ofred blood cells were started at
14:00. Cassandra Marshall was eventually extubated and transferred to Shepard’s, a

neurological rehabilitation facility for continued care and treatment

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4

Through education, training and experience, l am familiar with the standards of
care generally employed in the medical field of internal medicine and pathology, in
management and evaluation of`patients suffering sickle cell crisis and l am familiar with
blood banking standards as it applies to receiving requisitions and blood in order to
perform crossmatching services and to timely deliver the blood or blood products
according to the urgency of the situation

5.

At the time at Which the negligent acts and omissions described herein occurred, l
had actual professional knowledge and experience in the medical field of` internal
medicine and pathology including blood banking for at least three of`the last five years
and was (and still am) knowledgeable about the evaluation, diagnosis, differential
diagnosis, possible complications, and trealrnent, management and evaluation of`patients
with sickle cell crisis and actual blood banking experience with regard to timely
processing and delivering blood and blood products

6.

Based upon my review of' the above-described medical records, it is my opinion,
within a reasonable degree of` medical probability that the American Red Cross did not
timely cr ossmatch and process needed blood product, and failed to timely deliver needed
blood products to the requesting Hospital and in so doing, the American Red Cross failed
to conform to the appropriate standards of`care in the processing of the orders to cross-
match and obtain blood for needed transfiision on an emergency basis

I know the standard of'care to be exercised by a blood banking facility with
regard to the cross-matching processing, and delivery of`needed blood product and in

this case the time frame to complete these functions were too long or excessive

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7.

Based on my review of` the above-described medical records, it is my opinion,
within a reasonable degree of medical probability that the American Red Cross deviated
from the appropriate standards ofmedical care.

8,.

As a result of these deviations horn the usually accepted standard of'medical care,

Cassandra Marshall suffered a stroke, and resulting brain damage
9.

The opinions expressed herein are the product of reliable principles and methods
developed as a result of my actual professional knowledge, experience, education and
training in the field of internal medicine and pathology.. Furthermore, l applied said
principles and methods reliably to-the facts of`this case in reaching the opinions
expressed herein

lOv
This afndavit is given in conformance with O..C.G.A §§ 9-11 -9..1 and 24-9»67.1

and is not dispositive of all of my opinions relative to this case.

Millt_u

Edward L. Sn#er, ll\'/f. D.

FURTI'IER AFFIANT SAYETH NOT.

Sworn to and subscribed
Before me this the

QZ&& day ofJ_Ll|j', 2009
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NOTARY PUBLIC
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Notary Public
‘ My Comm ExpiresAug 31, 2013

 

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MEDICAL AUTHORIZATION PURSUANT TO O.C.G.A. § 9-11-9.2

COMES NOW Plaintiffs in the above-styled action and pursuant to O C G.A § 9-11-9 2,
files contemporaneously with the Complaint the following Authorization:

I, CASSANDRA MARSHALL, hereby authorize the attorney(s) representing ilyotir
Mehta, M D , Lung Diagnostics LLC, Deborah Z. McCarthy, Mark N. Bums, M.D., Southwest
Georgia Pathology, Southem Healthcare Management, lnc., John Thomas Duelge, M D., Phoebe
Cancer Center, Palmyra Medical Center, Phoebe Putney Memorial Hospital, lnc., and American
Red Cross, Southeast Division, to obtain and disclose protected health information contained in
medical records to facilitate the investigation, evaluation, and defense of the claims and
allegations set forth in the Complaint which pertain to Cassandra Mal shall `[his authorization
includes said defense attorney’s right to discuss the care and treatment of' Cassandra Marshall
with all of'Cassandra Marshall’s treating physicians when at least one of the patient’s attorneys is
present at these discussions This authorization does not provide for the release of protected
health information that is considered privileged

I request that you notify the patient’s attorneys in the event you provide my protected
health information to anyone l also request that you notify my attorney of any request by
defense counsel for you to meet with defense counsel to discuss my protected health information
and further request that no meeting orl any type of communication or discussion with defense
counsel take place unless at least one of the patient’s attorneys is present

Please be advised that l have Signed this authorization in order to comply with O.C'G .A
§ 9-] l-9 2 but I DO NOI WAIVE my rights under the Hea]th Insur'ance Portability and
Accountability Act of 1996 (HIPAA) and its implementing regulations By signing this
authorization, I arn not waiving and expressly reserve any and all objections I may have to

O..C..G A. § 9-l 1~9.2 to the extent that this Georgia law is in violation of`or preempted by HIPAA

§e_e45 C.F.R § 160 203.

 

 

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Defendants’ attorney(s) are not permitted to use this authorization and you are not
permitted to disclose my protected health information to Defendants’ attomey(s), unless
Defendants’ attorney’s request for my protected health information complied with 45 C.F .R §

164512(¢).

This authorization shall expire six (6) months from the date of its execution

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AssANDRX MARSHALL

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